        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 1 of 52



market has remained focused on price erosion for the [Company’s] base generics business.” Other

analysts were concerned his departure suggested that there may be something “going on internally

in the generics business” that had not been disclosed. (Citi analyst question at December 8, 2016

Citi Global Healthcare Conference; Piper Jaffray analyst report on December 6, 2016).

       723.    As a result of this new negative information, on the next trading day, Teva’s ADS

price fell $2.01 per share, or 5.43%, from a close of $37.04 on December 5, 2016 to a close of

$35.03 on December 6, 2016, on high trading volume. The ordinary share price also declined

ILS 690, or 4.91%, from a close of ILS 14,050 on December 5, 2016 to a close of ILS 13,360 on

December 6, 2016. Teva’s market capitalization was reduced by approximately $1.84 billion.

               5.      December 14, 2016

       724.    During trading on the NYSE on December 14, 2016, the DOJ announced in a press

release that it had charged (by information) Glazer and Malek, the former CEO and former

President of Heritage, for their roles in conspiracies to fix prices, rig bids, and allocate customers

for certain generic drugs, namely Doxycycline (as early as April 2013 until at least

December 2015) and Glyburide (as early as April 2014 until at least December 2015). Teva was

the dominant market participant in the Glyburide market and a major player in the market for

Doxycycline through its acquisition of Actavis during the Relevant Period.

       725.    The DOJ further stated that the charges resulted from an ongoing federal antitrust

investigation into price fixing, bid rigging and other anti-competitive conduct relating to generic

drugs and marked “an important step” in ensuring true competition among companies “at a price

set by the market, not by collusion.”

       726.    Two-count felony charges for violations of §1 of the Sherman Act against Glazer

and Malek also were unsealed that day, alleging the following in sum and substance:

              Various corporations and individuals participated as co-conspirators in the offenses
               and performed acts and made statements in furtherance thereof;

                                               - 284 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 2 of 52



              The defendants and co-conspirators knowingly entered into and engaged in a
               combination and conspiracy with other persons and entities engaged in the
               production and sale of generic drugs, including Doxycycline and Glyburide, the
               primary purpose of which was to allocate customers, rig bids, and fix and maintain
               prices of those drugs sold in the United States; and

              For the purpose of forming and carrying out the charged combination and
               conspiracy, the defendants and co-conspirators, among other things, participated in
               meetings and communications to discuss the sale of and to allocate customers or
               rig bids for the drugs; agreed not to compete against each other for certain
               customers; submitted bids, withheld bids, and issued proposals in accordance with
               their agreements; and sold the drugs at collusive and noncompetitive prices.

       727.    In a felony case, an information outlining probable cause may be filed where the

accused has waived indictment and has agreed, instead, to plead guilty. Various news outlets,

including Bloomberg, confirmed that Glazer and Malek were preparing to plead guilty and that

their cooperation could lead to charges against executives at other drug companies.

       728.    As a result of this new negative information, Teva’s ADS price fell $0.66 per share,

or 1.75%, from a close of $37.66 on December 13, 2016 to a close of $37.00 on December 14,

2016. Teva’s market capitalization was reduced by approximately $710 million.

               6.     December 15-18, 2016

       729.    During trading on the NYSE on December 15, 2016, Connecticut AG Jepsen

announced that he and 19 other State AGs had filed a federal lawsuit for violation of §1 of the

Sherman Act against Teva USA and five other drug companies (Heritage, Aurobindo, Citron,

Mayne, and Mylan), alleging that they had entered into illegal conspiracies to unreasonably

restrain trade, artificially inflate and manipulate prices, and reduce competition for Doxycycline

Hyclate and Glyburide.

       730.    The press release stated that portions of the complaint were redacted “to avoid

compromising the ongoing investigation” as to “a number of additional generic drugs”:

       In July 2014, the state of Connecticut initiated [a non-public] investigation of the
       reasons behind suspicious price increases of certain generic pharmaceuticals. The
       investigation, which is still ongoing as to a number of additional generic drugs,
       uncovered evidence of a well-coordinated and long- running conspiracy to fix
                                             - 285 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 3 of 52



       prices and allocate markets for doxycycline hyclate delayed release and glyburide.
       In today’s lawsuit, the states allege that the misconduct was conceived and carried
       out by senior drug company executives and their subordinate marketing and sales
       executives.

       The complaint further alleges that the defendants routinely coordinated their
       schemes through direct interaction with their competitors at industry trade shows,
       customer conferences and other events, as well as through direct email, phone and
       text message communications. The anticompetitive conduct – including efforts to
       fix and maintain prices, allocate markets and otherwise thwart competition – caused
       significant, harmful and continuing effects in the country’s healthcare system, the
       states allege.

       The states further allege that the drug companies knew that their conduct was illegal
       and made efforts to avoid communicating with each other in writing or, in some
       instances, to delete written communications after becoming aware of the
       investigation. The states allege that the companies’ conduct violated the federal
       Sherman Act and are asking the court to enjoin the companies from engaging in
       illegal, anticompetitive behavior and for equitable relief, including substantial
       financial relief, to address the violations of law and restore competition.

       731.    Connecticut led the multistate group of plaintiff states, which included Delaware,

Florida, Hawaii, Idaho, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Massachusetts,

Minnesota, Nevada, New York, North Dakota, Ohio, Pennsylvania, Virginia, and Washington.

       732.    As Forbes reported that day, the complaint revealed new information regarding

Teva’s potential exposure relating to two generic drugs, in that it “makes clear which companies

could be implicated in the antitrust investigation federal prosecutors are pursuing” and that Glazer

and Malek were cooperating; according to the publicly available complaint, Malek had a direct

relationship with an unnamed Teva employee and the two agreed to raise the prices of Glyburide.

       733.    As a result of this new negative information, the prices of Teva securities continued

to decline. Teva’s ADS price fell $0.27 per share, or 0.73%, from a close of $37.00 on

December 14, 2016 to a close of $36.73 on December 15, 2016. Teva’s market capitalization was

reduced by approximately $274 million.

       734.    The next trading day on the TASE, the ordinary share price fell ILS 140, or 0.98%,

from a close of ILS 14,240 on December 15, 2016 to a close of ILS 14,100 on December 18, 2016.

                                              - 286 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 4 of 52



               7.      January 6-8, 2017

       735.    Before the open of trading on the NYSE on January 6, 2017, Teva filed a press

release on Form 6-K announcing a significant reduction in 2017 guidance, far below market

expectations, due to previously unannounced poor performance and increased competitive pricing

pressures in the market. The press release quoted defendant Vigodman, who stated that “[t]he

entire healthcare sector has faced significant headwinds, and we have not been immune.”

Defendants thus acknowledged for the first time that Teva had suffered greatly from competitive

pressures such as pricing, a fact that they had denied vehemently until that point. As explained by

an analyst at Morningstar in a January 6, 2017 report, entitled “Teva Previews Weak Year on

Competitive Pressures and Currency Headwinds,” “Teva’s management lowered its 2017 outlook

from its previous forecast released in July [2016, at the time of the Notes Offering] as the firm

succumbs to increased competitive pressure, especially in the U.S. generics market.”

       736.    Indeed, analysts at Piper Jaffray wrote that the disclosure “further erod[ed] what in

[their] view was already limited management credibility.” The analysts rhetorically questioned

“how is it possible that 2017 EPS guidance was cut by as much as 18% within the space of six

months with largely the same senior management in place?”

       737.    That day, certain of the Officer Defendants hosted a “business outlook” conference

call, during which defendant Vigodman stated that there was an EBITDA gap of $1.2 billion

emanating from Teva’s U.S. generics business. He attributed the majority of that gap to delayed

product launches. Defendants continued to conceal, at least in part, the collusive practices in

Teva’s U.S. generics business, including bid rigging, price fixing, and market and customer

allocation, as well as pricing pressure due to the weakening of the collusion.

       738.    Investors and analysts reacted to the new negative news. For instance, TheStreet

reported that Teva’s ADS prices “plummeted” due to the lowered 2017 guidance.


                                              - 287 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 5 of 52



       739.    As a result of this new negative information, the prices of Teva securities continued

to decline. That day, Teva’s ADS price fell $2.86 per share, or 7.53%, from a close of $37.96 on

January 5, 2017 to a close of $35.10 on January 6, 2017, on high trading volume. Teva’s market

capitalization was reduced by approximately $3 billion.

       740.    The next trading day on the TASE, the ordinary share price fell ILS 790, or 5.49%,

from a close of ILS 14,390 on January 5, 2017 to a close of ILS 13,600 on January 8, 2017.

               8.      August 3-7, 2017

       741.    Before the open of trading on the NYSE on Thursday, August 3, 2017, Teva filed

a press release on Form 6-K announcing lower-than-expected second quarter 2017 results due to

poor performance in its U.S. generics business and “accelerated price erosion and decreased

volume due mainly to customer consolidation, greater competition as a result of an increase in

generic drug approvals by the U.S. FDA, and some new product launches that were either delayed

or subject to more competition.”

       742.    The Company also disclosed a net earnings loss primarily as a result of a

$6.1 billion goodwill impairment charge related to its U.S. generics unit – which consisted of both

Teva legacy and Actavis generics business.

       743.    This disclosure revealed that Teva’s business was facing significant and permanent

pricing pressure. As Bloomberg reported that day, “Pharma Giant Teva’s Stock Is Imploding As

Generic Drugs Get Cheaper.” Deutsche Bank analysts reported in an August 3, 2017 report that

“TEVA described increased pressures on its US generic business, which it believes could persist

in 2018 and potentially.” Defendants until then had vehemently denied that Teva was susceptible

to such pricing pressure.

       744.    As a result of this new negative information, Teva’s ADS price fell $7.50 per share,

or 24%, from a close of $31.25 on August 2, 2017 to a close of $23.75 on August 3, 2017, on high


                                              - 288 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 6 of 52



trading volume. The ordinary share price also declined ILS 1,980, or 17.79%, from a close of

ILS 11,130 on August 2, 2017 to a close of ILS 9,150 on August 3, 2017. Teva’s market

capitalization was reduced by approximately $8 billion.

       745.    On Friday, August 4, 2017, Fitch Ratings also downgraded Teva to BBB- (one step

above junk), with a negative outlook. As a result of the news on August 3 and 4, Teva’s ADS

price continued to fall by an additional $3.15 per share, or 13.26%, from a close of $23.75 on

August 3, 2017 to a close of $20.60 on August 4, 2017, on high trading volume. Teva’s market

capitalization was reduced by approximately $3.3 billion.

       746.    The next trading day on the TASE, the ordinary share price continued to fall by

ILS 2,022, or 22.10%, from a close of ILS 9,150 on Thursday, August 3, 2017 to a close of

ILS 7,128 on Sunday, August 6, 2017.

       747.    The next trading day, Monday, August 7, 2017, as the prices of Teva securities

continued to drop, Morgan Stanley analysts downgraded Teva’s ADSs to “Underweight,” noting

specifically that they had “underappreciated the risk of generics pricing pressure to Teva’s earnings

and dividend, and we expect Teva to continue to underperform given overhangs.” In other words,

the analysts had been led to believe through Defendants’ repeated and adamant denials that Teva

was not vulnerable to the pricing pressure.

       748.    As a result of the news on August 3 and 4, 2017, Teva’s ADS price continued to

fall by an additional $2.01 per share, or 9.76%, from a close of $20.60 on August 4, 2017 to a close

of $18.59 on August 7, 2017, on high trading volume. Teva’s market capitalization was reduced

by approximately $2.2 billion.

       749.    The ordinary share price also continued to fall by ILS 18, or 0.25%, from a close

of ILS 7,128 on Sunday, August 6, 2017 to a close of ILS 7,110 on Monday, August 7, 2017.




                                               - 289 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 7 of 52



       750.    In total, over these three trading days, Teva’s ADS price fell $12.66 per share, or

40.6%, and the ordinary share price fell ILS 4,020, or 36.2%. Teva’s market capitalization was

reduced by approximately $13 billion.

               9.     November 2, 2017

       751.    On November 2, 2017, Teva filed its 3Q2017 Form 6-K, reporting the Company’s

third quarter 2017 financial results, including a 9% decline in U.S. Generic Medicine quarterly

revenues compared to the third quarter of 2016. The decrease was misleadingly attributed to

“pricing declines resulting from customer consolidation into larger buying groups and accelerated

FDA approvals for additional generic versions of competing off-patent medicines as well as

volume decline of methylphenidate extended-release tablets (Concerta® authorized generic) due

to the launch of a competing product.”

       752.    Investors and analysts reacted negatively to this news. Analysts at Cowen and

Company called the Company’s full year guidance “unfavorable” and stated that, with a “difficult

generic pricing environment and competitive pressures – which are not being properly offset by

new product launches – the Teva business model is now upside down.” Analysts at RBC Capital

Markets stated that the results were even “below our cautious expectations,” and that the

“magnitude of weakness in the US generics business in both revenue and margins was surprising.”

Wells Fargo Securities analysts found Teva’s results to be “especially disappointing.”

       753.    As a result of this new negative information, the prices for Teva securities declined.

The ADS price fell $2.79 per share, or nearly 20%, from a close of $14.02 on November 1, 2017

to a close of $11.23 on November 2, 2017, on high trading volume. Teva’s market capitalization

was reduced by approximately $3 billion.




                                              - 290 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 8 of 52



       754.      The next trading day on the TASE, Teva’s ordinary shares fell ILS 670, or 13.65%,

from a close of ILS 4,908 on Wednesday, November 1, 2017 to a close of ILS 4,238 on Thursday,

November 2, 2017.

                 10.    February 8, 2018

       755.      On February 8, 2018, Teva issued a press release announcing its fourth quarter and

full year financial results, including a staggering $17.1 billion goodwill impairment mainly related

to its generics business for 2017. On the conference call with investors held later that day, Teva

explained that $11 billion of the impairment “related to our U.S. generics business as well as

additional impairments of other long-lived assets of $3.2 billion, mainly related to a revaluation of

generic products acquired from Actavis.”

       756.      Investors and analysts reacted negatively to this news. Analysts at Wells Fargo

Securities stated that the Company missed consensus expectations “by a significant margin,” but

noted that:

       [W]e believe it will be the lower than consensus 2018 outlook that investors will
       be focused on, especially the commentary about generic pricing worsening in 4Q
       and the overall environment worsening for the value of future launches. Teva took
       a $17.1 billion goodwill impairment, which investors should see as reflective of
       how challenging the situation is.

BTIG analysts noted “another major write-down following last year’s $6B goodwill impairment.”

Similarly, IBI Brokerage stated that the $11 billion “impairment charge [was] almost entirely for

the generics business in the US” and that guidance for fiscal year 2018 was “way below market

expectations.”

       757.      As a result of this new negative information, the prices for Teva securities declined.

Teva’s ADS price fell $2.21 per share, or over 10.5%, from a close of $20.85 on February 7, 2018

to a close of $18.64 on February 8, 2018, on high trading volume. Teva’s market capitalization

was reduced by approximately $2.3 billion.


                                                - 291 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 9 of 52



       758.    The next trading day on the TASE, the ordinary share price fell ILS 500, or 6.9%,

from a close of ILS 7,200 on February 7, 2018 to a close of ILS 6,700 on February 8, 2018.

       N.      Presumption of Reliance and Fraud-on-the-Market Doctrine

       759.    There is a presumption of reliance established pursuant to the fraud-on-the-market

doctrine because, among other things:

               (a)     Defendants made misrepresentations or omissions that were public;

               (b)     the misrepresentations or omissions were material;

               (c)     the misrepresentations or omissions would tend to induce a reasonable

investor to misjudge the value of Teva securities;

               (d)     Teva securities traded in an efficient market; and

               (e)     Plaintiffs traded in Teva securities between the time the misrepresentations

or omissions were made and the time when the truth was revealed.

       760.    At all relevant times, the market for Teva securities was efficient for the following

reasons, among others:

               (a)     Teva’s ADSs met the requirements for listing, and were listed and actively

traded on the NYSE, a highly efficient and automated market;

               (b)     the average weekly trading volume of Teva securities was significant;

               (c)     as a regulated issuer, Teva filed public reports with the SEC and the NYSE;

               (d)     Teva was eligible to file simplified SEC filings;

               (e)     Teva regularly communicated with the public through established market

communication channels, including through regular dissemination of news releases on major

newswire services and through other wide-ranging public disclosures, such as communications

with the financial press and other similar reporting services; and




                                              - 292 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 10 of 52



                  (f)     numerous securities and credit analysts followed Teva and wrote reports

that were published, distributed, and entered the public market.

        761.      As a result of the foregoing, the market for Teva securities promptly digested

current information regarding the Company from all publicly available sources and reflected such

information in their prices. All purchasers of Teva securities during the Relevant Period suffered

similar injury through their purchases of Teva securities at artificially inflated prices, and a

presumption of reliance therefore applies.

        762.      In addition, or in the alternative, Plaintiffs are entitled to a presumption of reliance

pursuant to Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), and its progeny, because

the claims asserted herein are predicated in part upon omissions of material fact that Defendants

had a duty to disclose.

        O.        Inapplicability of the Statutory Safe Harbor or Bespeaks Caution
                  Doctrine

        763.      The statutory safe harbor and bespeaks caution doctrine applicable to forward-

looking statements under certain circumstances do not apply to any of the untrue or misleading

statements alleged herein. First, the statements complained of herein concerned present or

historical facts or conditions that were existing or purported to exist at the time they were made.

Second, the statutory safe harbor does not apply to statements included in financial statements that

purport to have been prepared in accordance with GAAP. Further, to the extent that any of the

untrue or misleading statements alleged herein were identified as forward looking, and can be

construed as forward looking, the statements were not accompanied by meaningful cautionary

statements identifying important facts that could cause actual results to differ materially from those

statements, and the generalized disclosures made by Defendants were not sufficient to shield them

from liability.



                                                  - 293 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 11 of 52



       764.    In the alternative, to the extent the statutory safe harbor otherwise would apply,

Defendants are liable for any untrue or misleading forward-looking statement complained of

herein because the person who made each such statement knew that the statement was false or

misleading and/or each such statement was made or approved by an executive officer of the

Company who knew that the statement was false or misleading.

IV.    INFLATED PROFIT METHODOLOGY

       765.    Teva did not disclose profits, revenues, or pricing for individual generic drugs, nor

was that information otherwise public. Counsel therefore undertook an investigation and engaged

econometric experts, working at counsel’s direction, to calculate and isolate the profit that Teva

earned from its Price-Hike Strategy. The investigation comprised multiple distinct econometric

analyses, including regression analyses, that ultimately took into account thousands of data points.

       766.    The analysis screened Teva’s entire generic drug portfolio during the Relevant

Period to identify significant WAC increases. The data was accessed via private, subscription-

only databases costing tens of thousands of dollars annually. Next, any price increases plausibly

connected to supply shortages or other economic anomalies were removed from the set.

       767.    To isolate Inflated Profit for each drug, the analysis first determined the drug’s price

per unit had Teva not made the increase. To do so, the drug’s specific pricing history was analyzed

using a regression analysis to determine the price through the Relevant Period had prevailing drug-

specific pricing trends continued. The analysis further took into account CPI inflation for

prescription drugs and empirical measures of the trend in average pricing for prescription drugs

over the past five years.

       768.    Calculating Inflated Profit, i.e., the difference between Teva’s actual revenues (with

the price increase) and the revenues that would have been earned at each drug’s price without the

increase, involved accounting on a month-by-month basis for: (i) Teva’s sales quantities; and


                                               - 294 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 12 of 52



(ii) the discounts and rebates, unique to each drug, that Teva would provide to customers, which

varied over time.

        769.    Sales volumes were derived by reference to figures reported in a subscription

database. Through another regression analysis, it was confirmed that the price and volume for

each drug exhibited no statistically meaningful relationship, meaning that as pricing changed,

volume of sales did not change.

        770.    Teva’s discounts and rebates are unavailable by any means of which counsel is

aware. Thus, the level of discounts and rebates was determined by analyzing, on a month-by-

month basis over the Relevant Period, multiple data points from a number of subscription and

other industry datasets that reflected average pricing and sales volume data. This analysis was

unique for each drug and captured fluctuations over time.

V.      CLAIMS FOR RELIEF

                                            COUNT I

                    For Violation of §10(b) of the Exchange Act and Rule 10b-5
                    Against Teva and the Officer Defendants for ADS Purchases

        771.    Plaintiffs repeat and reallege each and every allegation set forth above as if fully

set forth herein.

        772.    This Count is asserted against Teva and the Officer Defendants for violations of

§10(b) of the Exchange Act, 15 U.S.C. §78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R.

§240.10b-5.

        773.    The defendants named in the Count disseminated or approved the false and

misleading statements specified above during the Relevant Period, which they knew were, or they

deliberately disregarded as, misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

                                              - 295 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 13 of 52



       774.    Teva and the Officer Defendants violated §10(b) of the Exchange Act and Rule

10b-5 in that they: (a) employed devices, schemes, and artifices to defraud; (b) made untrue

statements of material fact or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading; and/or

(c) engaged in acts, practices, and a course of business that operated as a fraud or deceit upon

Plaintiffs in connection with their purchases of Teva ADSs during the Relevant Period.

       775.    Teva and the Officer Defendants, individually and in concert, directly or indirectly,

by the use of the means or instrumentalities of interstate commerce or of the mails, and by the use

of the facilities of a national securities exchange with respect to Teva’s ADSs, engaged in a

continuous course of conduct that operated as a fraud and deceit, or otherwise used or employed

manipulative or deceptive devices or contrivances, which were intended to and did: (i) deceive the

investing public, including Plaintiffs, regarding, among other things, Teva’s participation in illegal

anti-competitive activities; (ii) artificially inflate and/or maintain the market price of Teva ADSs;

and (iii) cause Plaintiffs to purchase Teva ADSs at artificially inflated prices, and thereby suffer

losses when the truth was revealed.

       776.    Teva and the Officer Defendants are liable for all materially false and misleading

statements made during the Relevant Period, as alleged above.

       777.    As set forth above, Teva and the Officer Defendants acted with the requisite

scienter in that they acted either with intent to deceive, manipulate, or defraud, or with

recklessness. The misrepresentations and omissions of material facts set forth herein, which

presented a danger of misleading buyers or sellers of Teva ADSs, were either known to these

defendants or were so obvious that these defendants should have been aware of them.

       778.    Plaintiffs suffered damages as a result of Teva’s and the Officer Defendants’

wrongful conduct in that, they purchased or otherwise acquired Teva ADSs at artificially inflated


                                               - 296 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 14 of 52



prices in reliance on (i) these defendants’ untrue or misleading statements or omissions of material

fact and/or (ii) the integrity of the market. Plaintiffs would not have purchased or otherwise

acquired Teva ADSs at the prices they paid, or at all, had they been aware that those prices were

artificially inflated and/or maintained as a result of the wrongful conduct alleged herein.

        779.    As a direct and proximate result of Teva’s and the Officer Defendants’ wrongful

conduct, Plaintiffs suffered damages attributable to the material misstatements and omissions

alleged herein in connection with their purchases of Teva ADSs during the Relevant Period.

                                            COUNT II

                         For Violation of §20(a) of the Exchange Act
                      Against the Officer Defendants for ADS Purchases

        780.    Plaintiffs repeat and reallege each and every allegation set forth above as if fully

set forth herein.

        781.    This Count is asserted against the Officer Defendants pursuant to §20(a) of the

Exchange Act, 15 U.S.C. §78t(a).

        782.    During their tenures as officers and/or directors of Teva, the Officer Defendants

were controlling persons of the Company, within the meaning of §20(a) of the Exchange Act, and

were culpable participants in the alleged wrongful conduct that is the basis of Count I.

        783.    The Officer Defendants, by virtue of their control and authority as officers and/or

directors of Teva and their direct participation in and/or awareness of the Company’s operations

and finances, possessed the power and authority to, and did, direct or cause the direction of the

management and policies of the Company and its employees, or otherwise cause the Company to

engage in the alleged wrongful conduct that is the basis of Count I.

        784.    The Officer Defendants were able to and did control, directly and indirectly, the

content of the public statements made by Teva during the Relevant Period, including its materially



                                              - 297 -
       Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 15 of 52



misleading financial statements, thereby causing the dissemination of the false and misleading

statements and omissions of material facts as alleged herein.

       785.    In their capacities as senior corporate officers of the Company, and as more fully

described above, the Officer Defendants had direct involvement in the day-to-day operations of

the Company, in reviewing and managing its regulatory and legal compliance, and in its

accounting and reporting functions. The Officer Defendants regularly spoke on behalf of the

Company and had the power to, and did, control, directly or indirectly, the decision-making of the

Company. The Officer Defendants signed the Company’s SEC filings during the Relevant Period,

and/or were directly involved and responsible in providing false and misleading information and

certifying and approving the false and misleading statements disseminated by Teva during the

Relevant Period. The Officer Defendants were also directly responsible for controlling, and did

control, the Company’s violations of GAAP and other relevant accounting rules, and were directly

involved in providing false and misleading information and certifying and approving the false

statements disseminated by Teva during the Relevant Period. As a result of the foregoing, the

Officer Defendants, as a group and individually, were controlling persons of Teva within the

meaning of §20(a) of the Exchange Act.

       786.    As set forth above, Teva violated §10(b) of the Exchange Act and Rule 10b- 5; as

controlling persons of the Company, each of the Officer Defendants is liable jointly and severally

for such violation, with and to the same extent as the Company. Moreover, as detailed above,

during the respective times the Officer Defendants served as officers and/or directors of Teva, each

of these Officer Defendants was culpable for the material misstatements and omissions made by

Teva. As a direct and proximate result of these Officer Defendants’ conduct, Plaintiffs suffered

damages in connection with their purchase or acquisition of Teva ADSs.




                                              - 298 -
          Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 16 of 52



                                            COUNT III

                      For Violation of §§1-402(c) and 1-501(c) of the PSA
                    Against All Defendants for All Teva Securities Purchases

          787.   Plaintiffs repeat and reallege each and every allegation set forth above as if fully

set forth herein.

          788.   This Count is asserted against Defendants (Teva, Teva USA, and the Officer

Defendants) for violations of §§1-402(c) and 1-501(c) of the PSA, 70 Pa. Stat. §§1-402(c) & 1-

501(c).

          789.   Defendants directly and/or indirectly, for the purpose of inducing the purchase of

Teva securities by others, participated in the circulation and/or dissemination of misrepresentations

and omissions of material facts to the effect that the price of the security would or was likely to

rise. During the Relevant Period, Defendants sold or offered to sell Teva securities, or received

consideration, directly or indirectly, from a person who sold or offered to sell Teva securities.

          790.   Pennsylvania is “the factual center” of this action. See Galmi, ECF No. 37-1, at 6.

The false statements “were prepared in Pennsylvania and Israel.” Id.; see also Kim Declaration,

¶5 (“Individuals, myself included, who participated in drafting and preparing [the relevant SEC]

filings, or who otherwise controlled the drafting process, are located in or around Petach Tikva,

Israel and North Wales, Pennsylvania.”). And “[s]everal departments, including investor relations

and sales and marketing for the North American generic medicines business, are based at the

Pennsylvania offices. In addition, all sales, marketing, and finance executives with responsibility

for U.S. generics pricing are based in Pennsylvania.” Id., ¶4. Documents related to this case –

“e.g., materials related to Teva USA, drug pricing and U.S. Competitors . . . are located in

Pennsylvania, or, if not there, [in] Israel.” Id., ¶3. Furthermore, Teva’s Vice President and Deputy

General Counsel, Corporate/M&A, Kim, “also live[s] and work[s] in Pennsylvania,” and Teva



                                               - 299 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 17 of 52



USA’s headquarters and principal executive offices are located at 1090 Horsham Road, North

Wales, Pennsylvania, 19454.” Id., ¶¶1, 3-4.

        791.    Defendants willfully participated in the acts and transactions that caused the

circulation and/or dissemination of misrepresentations and omissions of material facts.

        792.    Defendants are liable for all materially false and misleading statements made during

the Relevant Period, as alleged above.

        793.    Defendants acted with the requisite scienter in that they acted either with intent to

deceive, manipulate, or defraud, or with recklessness. The misrepresentations and omissions of

material facts set forth herein were either known to Defendants or were so obvious that Defendants

should have been aware of them.

        794.    Plaintiffs suffered damages as a result of Defendants’ wrongful conduct in that they

purchased or otherwise acquired Teva securities at artificially inflated prices in reliance on

Defendants’ untrue or misleading statements or omissions of material fact and/or the integrity of

the market.

        795.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs

suffered damages.

                                            COUNT IV

                       For Violation of the Israel Securities Law, 1968,
          Against All Defendants for Ordinary Share Purchases Made on the TASE

        796.    Plaintiffs repeat and reallege each and every allegation set forth above as if fully

set forth herein.

        797.    Throughout the Relevant Period, Teva’s ADSs and ordinary shares were “dual

listed” on both the NYSE and the TASE under Israeli law.15


15
    See http://www.tase.co.il/eng/marketdata/stocks/marketdata/pages/marketdata.aspx            (last
visited Aug. 2, 2018).

                                               - 300 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 18 of 52



       798.    Israeli securities law provides unique treatment for securities of certain firms that

are “dual listed,” i.e., available for trading on both the TASE and the national U.S. stock markets.

For dual-listed firms incorporated in Israel, Israeli law applies the reporting requirements

(including the anti-fraud provisions) of the country of primary listing. See Israel Securities Law,

1968 (“Securities Law”), §§1, 35T, 35DD, 35EEE.

       799.    Section 1 of the Securities Law defines a “foreign corporation” as “a corporation

incorporated in Israel whose securities are listed for trade on a foreign stock exchange.” The

NYSE is a “foreign stock exchange” under the Securities Law. Because Teva is incorporated in

Israel and has its securities, such as the ADSs, listed for trading on the NYSE, it is a “foreign

corporation” under the Securities Law. Therefore, the TASE correctly recognizes Teva as a dual-

listed company.

       800.    For “foreign corporations” that are dual listed in the United States, Israeli law

applies the reporting requirements (including the anti-fraud requirements) of the United States.

See Securities Law §§35T, 35EE.

       801.    Section 1 of the Securities Law defines “the foreign law” as “the law applying to a

foreign corporation because its securities are listed for trade on a foreign stock exchange, including

the rules of that foreign stock exchange.” A “foreign corporation” must agree to comply with the

foreign law as a matter of Israeli law. See Securities Law §35T(a)(1). Indeed, a foreign

corporation, like Teva, generally only needs to file its U.S. SEC filings in Israel (without further

alteration or translation) in order to comply with Israeli reporting requirements. As a matter of

Israeli securities law, Teva agreed to comply with the U.S. securities laws and the rules of the

NYSE to fulfill its obligations under Israeli law.

       802.    Accordingly, to construe the propriety of Teva’s disclosures to investors, Israel

applies U.S. laws and regulations, including the anti-fraud provisions of the U.S. securities laws,


                                               - 301 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 19 of 52



to enforce disclosure obligations for dual-listed stocks. See Securities Law, §§35T, 35DD, 35EE;

Verifone Holdings, Inc. v. Stern, Class Action 3912-01-08, decision rendered Nov. 16, 2008; Stern

v. Verifone Holdings, Inc., Class Action 3912-01-08, decision rendered Aug. 25, 2011 (subsequent

to and in light of Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247 (2010)); Letter from Israel

Securities Authority to the SEC (Feb. 18, 2011), https://www.sec.gov/comments/4-617/4617-

45.pdf (last visited Aug. 2, 2018).

       803.     In a Motion to Dismiss the Class Action Complaint filed on December 1, 2017, in

Ontario Teachers’ Pension Plan Board v. Teva Pharm. Indus. Ltd., No. 3:17-cv-00558-SRU

(D. Conn.), defendants Teva, Vigodman, Desheh, Altman, Oberman, Olafsson, Peterburg, and

Bhattacharjee

       agree[d] that Israeli law mirrors U.S. law here. The Israeli dual-listing regime was
       purposefully created in 2000 to make the Tel Aviv Stock Exchange more attractive
       to Israeli companies (like Teva) who otherwise might list their securities only on
       exchanges outside of Israel. See generally, e.g., Marcus Best & Jean-Luc Soulier,
       Israel §21.1, International Securities Law Handbook (4th ed. 2014). Because
       issuers find it unattractive to be subject to multiple and diverging regulatory
       regimes, Israel simply adopts the securities law requirements of the foreign
       jurisdiction – in this case, the United States – instead of enforcing “requirements
       that apply to Israeli companies listed solely on the TASE.” Id. As Plaintiffs
       acknowledge, both Israeli case law and the Israel Securities Authority’s public
       statements support the view that, as a matter of Israeli law, Israel voluntarily applies
       U.S. liability standards to dual-listed companies like Teva. Compl., ¶1084; see In
       re VeriFone Holdings, Inc. Sec. Litig., No. 07-cv-06140 EMC, 2014 WL 12646027,
       at *1 (N.D. Cal. Feb. 18, 2014) (noting, in case involving securities fraud claims
       under Israeli law and a dual-listed company, that “the Israeli district court ruled
       twice that U.S. law, and not Israeli law, applies”).

       804.     This Count incorporates Counts I and II under the Exchange Act by reference

VI.    SECURITIES ACT ALLEGATIONS

       A.       Securities Act Parties

                1.     Securities Act Plaintiffs

       805.     Plaintiffs purchased or otherwise acquired Teva ADSs in or pursuant to and/or

traceable to the ADS Offering. For instance, on and/or around the December 3, 2015 offering date

                                               - 302 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 20 of 52



and at the $62.50 offering price, Plaintiffs purchased Teva ADS (SEDOL: 2883878), which are

listed on the NYSE, in the ADS Offering.

       806.    As a result of material misstatements and omissions made by the Securities Act

Defendants (defined below), Plaintiffs purchased or otherwise acquired Teva ADSs at artificially

inflated prices. When the relevant truth concerning the Securities Act Defendants’ misstatements

and omissions of material fact leaked out into the market from August 2016 to February 2018, the

price of Teva ADSs fell, causing Plaintiffs to suffer losses.

               2.      The Teva Securities Act Defendants

       807.    Each of the following defendants is statutorily liable under §§11, 12(a)(2) and/or

15 of the Securities Act for the material misstatements and omissions contained in and

incorporated (and thereby made anew) in the ADS Offering Materials (as defined below).

       808.    Teva was the issuer of the ADSs.

       809.    Defendant Vigodman signed the ADS/Preferred Registration Statement and the

Master Purchase Agreement. He also signed and certified the 2014 Form 20-F. He also was, at

all relevant times, a member of Teva’s Board at the time of the ADS Offering.

       810.    Defendant Desheh signed the ADS/Preferred Registration Statement and the ADS

Underwriting Agreement, signed and certified Teva’s 2014 Form 20-F, and signed Teva’s 1Q2015

Form 6-K, 2Q2015 Form 6-K, 3Q2015 Form 6-K, and the July 28, 2015 Form 6-K with the Master

Purchase Agreement filed with the SEC and incorporated by reference into the ADS Offering

Materials.

       811.    Defendant Griffin signed the ADS Preferred Registration Statement and was at all

relevant times Teva’s SVP and Chief Accounting Officer (Principal Accounting Officer), and the

Authorized U.S. Representative of Teva.




                                               - 303 -
       Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 21 of 52



       812.    Defendant Peterburg signed the ADS Preferred Registration Statement and was at

all relevant times Chairman of Teva’s Board.

       813.    Defendants Teva, Vigodman, Desheh, Peterburg, and Griffin are collectively

referred to herein as the “Teva Securities Act Defendants.”

       B.      The Relevant Offering

       814.    On November 30, 2015, Teva filed with the SEC a Form 6-K and press release,

announcing that it was commencing two concurrent public offerings totaling approximately

$6.75 billion. These offerings consisted of approximately $3.375 billion worth of Teva’s ADSs

and approximately $3.375 billion worth of its Preferred Shares, and were announced pursuant to a

prospectus and related prospectus supplements constituting part of Teva’s shelf registration

statement on Form F-3 filed with the SEC on November 30, 2015 (the “ADS/Preferred

Registration Statement”).     Each ADS represents one ordinary share of Teva. Likewise, on

November 30, 2015, Teva also filed with the SEC, pursuant to Rule 424(b)(5), the preliminary

prospectus supplement for the ADS Offering dated November 30, 2015.

       815.    On December 3, 2015, Teva filed with the SEC a Form 6-K, announcing the pricing

of the ADS/Preferred Offerings. That same day, Teva also filed with the SEC, pursuant to Rule

424(b)(5), the ADS Prospectus Supplement, and, pursuant to Rule 433, a free writing prospectus

and pricing term sheet, all dated December 2, 2015.

       816.    The ADS/Preferred Registration Statement, along with the base and preliminary

prospectus and related prospectus supplements constituting part of the ADS/Preferred Registration

Statement, including the ADS Prospectus Supplement, and the documents incorporated by

reference therein, are sometimes referred to herein collectively as the “ADS Offering Materials.”




                                               - 304 -
       Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 22 of 52



       817.    On December 8, 2015, Teva closed the ADS Offering and issued 54 million ADSs

at $62.50 per ADS. The Company’s net proceeds, after estimated underwriting discounts,

commissions, and offering expenses by Teva, were approximately $3.29 billion.

       818.    Certain underwriters of the ADS Offerings exercised their options to purchase

additional ADSs to cover overallotments. Teva issued an additional 5.4 million ADSs at the time

of such purchases, on January 6, 2016. As a result, Teva received an additional $329 million in

net proceeds for the ADS Offering, for an aggregate of approximately $3.62 billion for the ADS

Offering.

       C.      Teva Filings Incorporated into the Offering Materials

       819.    The ADS/Preferred Registration Statement and the ADS Prospectus Supplement

incorporated by reference various documents that Teva had previously filed with the SEC and all

§§13(a), 13(c), 14 or 15(d) reports or documents filed by Teva subsequent to the dates of the

ADS/Preferred Registration Statement and the ADS Prospectus Supplement, until the ADS

Offering was complete. Specifically, the ADS/Preferred Registration Statement and the ADS

Prospectus Supplement incorporated by reference Teva’s 2014 Form 20-F, 1Q2015 Form 6-K,

2Q2015 Form 6-K, 3Q2015 Form 6-K, the July 28, 2015 Form 6-K with the Master Purchase

Agreement and the ADS Underwriting Agreement. The incorporated 2014 Form 20-F, 1Q2015

Form 6-K, 2Q2015 Form 6-K, and 3Q2015 Form 6-K contained material misstatements and

omissions concerning: (i) the collusive activities and the Price-Hike Strategy and the benefits and

risks stemming therefrom; (ii) material trends that were not disclosed under Item 5 of the 2014

Form 20-F; and (iii) the purported competitiveness of the U.S. generics market and Teva’s

relationship to that market, as well as other topics discussed below. The statements and omissions

in the 2014 Form 20-F, 1Q2016 Form 6-K, 2Q2015 Form 6-K and 3Q2015 Form 6-K and the

reasons why they are materially misleading are set forth in §III.J. The July 28, 2015 Form 6-K


                                              - 305 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 23 of 52



with the Master Purchase Agreement and the ADS Underwriting Agreement contained material

misstatements and omissions concerning Teva’s compliance to laws and regulations and the

reasons why they are materially misleading are set forth in §III.J.

       D.      The Ads Offering Materials Contained Material Misstatements and
               Omissions

               1.      Material Misstatements and Omissions Concerning Collusive
                       Activities and the Price-Hike Strategy and the Benefits and
                       Risks Stemming Therefrom

       820.    The ADS Offering Materials contained material misstatements and omissions

concerning the attribution of the sources of Teva’s generics segment’s revenues and profit during

the Relevant Period. The statements and omissions contained in the 2014 Form 20-F, the 1Q2015

Form 6-K, 2Q2015 Form 6-K and 3Q2015 Form 6-K and the reasons why they are materially

misleading are described in §III.J.

       821.    In sum, the various financial disclosures regarding the sources of Teva’s generics

revenues and profits contained within the incorporated filings were materially misstated because

they failed to disclose collusive activities and the Price-Hike Strategy, pursuant to which Teva

implemented price hikes on a number of Teva’s generic drugs, generating a significant amount of

the Inflated Profit, including the Collusive Profit, as a result of those price hikes that was

unsustainable, while attributing the source of those profits to other sources and failing to disclose

that they were caused by concealed price hikes.

       822.    Teva failed to disclose the material risks associated with collusive activities and the

Price-Hike Strategy. Those material risks included: (i) increased public, legislative, and regulatory

scrutiny of generic drug price increases that undermined Teva’s ability to sustain the Inflated Profit

and Collusive Profit from price increases and/or implement further price increases; (ii) increased

legislative and law enforcement scrutiny that resulted in legal actions being taken against Teva;

(iii) increased competition from other generic manufacturers who undercut Teva’s raised prices as

                                               - 306 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 24 of 52



they themselves faced increased scrutiny; and (iv) significant disruption caused by the termination

of members of senior management who were responsible for the strategy, and the attendant

resources required to locate and hire suitably qualified replacements.

               2.      Material Misstatements and Omissions Concerning Known
                       Trends Required to Be Disclosed Pursuant to Item 5 of Form
                       20-F

       823.    Incorporating Teva’s 2014 Form 20-F, the ADS Offering Materials contained

material misstatements and omissions in that they violated SEC Item 5 of Form F-20 by failing to

disclose two known trends. See §III.C.1, supra. The Securities Act Defendants failed to disclose

the trend that Teva’s financial success was materially dependent on collusive activities and the

Price-Hike Strategy and the attendant price increases on generic drugs that generated significant

amounts of Collusive Profit and Inflated Profit. These prices increases generated as much as

$[2.3] billion in profit for Teva over the Relevant Period. Yet the existence of this trend and the

related risks and uncertainties surrounding its source and sustainability were concealed.

               3.      Material Misstatements and Omissions Concerning
                       Competition in the U.S. Generics Market

       824.    Incorporating Teva’s 2014 Form 20-F, the ADS Offering Materials contained

material misstatements and omissions in that they, among other things, purportedly: (i) warned

investors that one of the primary risks that Teva faced was “intense” competition in the U.S.

generics drug market, and that this competition would force the price of generic drugs down; and

(ii) described how Teva’s competitive advantage was a “competitive pricing strategy” and the

ability to launch new generics. These statements and omissions were materially misstated for all

of the reasons described above in §III.J.1.

               4.      Material Misstatements and Omissions Concerning Legal
                       Compliance

       825.    The ADS Offering Materials contained material misstatements and omissions of

material fact in that Teva and its subsidiary Teva USA were not in compliance with laws and
                                             - 307 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 25 of 52



regulations. Teva’s undisclosed inflation of sales through collusive price-fixing and market

allocation were violations of U.S. antitrust laws and exposed the Company to significant risk of

prosecution by state and federal authorities, along with the attendant financial and reputational

harm as set forth in §III.J.6.

VII.    CLAIMS FOR RELIEF UNDER THE SECURITIES ACT

                                             COUNT V

       For Violation of §11 of the Securities Act in Connection with the ADS Offering
           Against Defendants Teva, Vigodman, Desheh, Peterburg and Griffin

        826.    Plaintiffs repeat and reallege each and every allegation above relating to the

Securities Act claims as if fully set forth herein.

        827.    Defendants’ liability under this Count is predicated on the participation of each of

the Securities Act Defendants in the ADS Offering pursuant to the ADS Offering Materials, which

contained untrue statements and omissions of material fact.

        828.    This Count does not sound in fraud. Any allegations of fraud or fraudulent conduct

and/or motive are specifically excluded, except that any challenged statements of opinion or belief

made in connection with the ADS Offering are alleged to have been materially misstated

statements of opinion or belief when made and at the time of ADS Offering. For purposes of

asserting this and their other claims under the Securities Act, Plaintiffs do not allege that the

Securities Act Defendants acted with intentional, reckless or otherwise fraudulent intent.

        829.    This Count is brought pursuant to §11 of the Securities Act against defendants

Teva, Vigodman, Desheh, Peterburg, and Griffin and arises out of Plaintiffs’ purchase or

acquisition of Teva ADSs pursuant and/or traceable to the ADS Offering. This Count is based

solely in strict liability and negligence. Teva was the issuer, within the meaning of §11 of the

Securities Act, pursuant to the ADS Offering Materials.



                                                - 308 -
       Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 26 of 52



       830.    The ADS Offering Materials, at the time when the relevant parts became effective,

contained (and/or incorporated by reference) untrue statements of material fact or omitted to state

(and/or incorporated by reference documents that omitted to state) material facts required to be

stated therein or necessary to make the statements therein not misleading.

       831.    The defendants named in this Count issued or disseminated, caused to be issued or

disseminated, or participated in the issuance or dissemination of the ADS Offering Materials.

       832.    As the issuer of the ADS Offering, Teva is strictly liable for the actionable

statements and omissions in the ADS Offering Materials.

       833.    The other defendants named in this Count acted negligently in that none of them

conducted a reasonable investigation to ensure, or had reasonable grounds to believe at the time

the relevant parts became effective, that the statements contained in the ADS/Preferred

Registration Statement were true and there was no omission of material fact required to be stated

therein or necessary to make the statements therein not misleading. These defendants are liable

for the actionable statements and omissions in the ADS/Preferred Registration Statements in that,

among other things:

              Vigodman, Desheh, Peterburg, and Griffin each signed the ADS/Preferred
               Registration Statement as a senior officer and/or director of Teva; and

              Vigodman and Peterburg were directors of the Company at the time of the filing of
               the relevant parts of the ADS/Preferred Registration Statement with respect to
               which their liability is asserted.

       834.    When they acquired the securities in, pursuant, and/or traceable to the ADS

Offering, Plaintiffs did not know, nor in the exercise of reasonable care could they have known,

of the untruths or omissions contained (and/or incorporated by reference) in the ADS Offering

Materials.

       835.    Plaintiffs suffered damages in connection with the purchase or acquisition of the

ADSs in, pursuant to, and/or traceable to the ADS Offering.

                                              - 309 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 27 of 52



                                             COUNT VI

     For Violation of §12(a)(2) of the Securities Act in Connection with the ADS Offering
           Against Defendants Teva, Vigodman, Desheh, Peterburg and Griffin

       836.    Plaintiffs repeat and reallege each and every allegation above relating to the

Securities Act claims as if fully set forth herein.

       837.    For the purposes of this Count, Plaintiffs assert only negligence claims, and

expressly exclude from this Count any allegations of fraud or reckless or intentional misconduct,

except that any challenged statements of opinion or belief made in connection with the ADS

Offering are alleged to have been materially misstated statements of opinion or belief when made

and at the time of ADS Offering.

       838.    This claim is brought pursuant to §12(a)(2) of the Securities Act against Teva,

Vigodman, Desheh, Peterburg, and Griffin on behalf of Plaintiffs who purchased ADSs in,

pursuant to, and/or traceable to the ADS Offering.

       839.    The defendants named in this Count offered, sold, and/or solicited the purchase of

(or assisted in the offer, sale, or solicitation of the purchase of) the ADSs, within the meaning of

the Securities Act, by means of a prospectus or oral communication.

       840.    The defendants named in this Count assisted in the planning of the ADS Offering

and actively participated in decisions regarding, among other things, the price of the ADSs and the

information contained in the ADS Prospectus Supplement.

       841.    The ADS Prospectus Supplement included (and/or incorporated by reference)

untrue statements of material fact and/or omitted to state (and/or incorporated by reference

documents that omitted to state) material facts necessary in order to make the statements, in light

of the circumstances under which they were made, not misleading.




                                                - 310 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 28 of 52



       842.     The defendants named in this Count acted negligently in that none of them

exercised reasonable care to ensure that the ADS Prospectus Supplement did not include untrue or

misleading statements or omissions of material fact.

       843.     When they acquired the ADSs directly in, pursuant to, and/or traceable to the ADS

Offering, Plaintiffs did not know, nor in the exercise of reasonable care could they have known,

of the untruths or omissions contained (and/or incorporated by reference) in the ADS Prospectus

Supplement.

       844.     Plaintiffs suffered damages in connection with their purchases or acquisitions of

the ADSs in, pursuant to, and/or traceable to the ADS Offering.

       845.     By reason of the foregoing, the defendants named in this Count are liable to

Plaintiffs for either: (i) the consideration paid for the ADSs with interest thereon, less the amount

of any income received thereon, upon tender of such ADSs; or (ii) damages as to the securities no

longer owned.

                                           COUNT VII

       For Violation of §15 of the Securities Act in Connection with the ADS Offering
               Against Defendants Vigodman, Desheh, Peterburg and Griffin

       846.     Plaintiffs repeat and reallege each and every allegation above relating to the

Securities Act claims as if fully set forth herein, and expressly exclude from this Count any

allegations of fraud or intentional misconduct. This Count is based solely on negligence.

       847.     This Count is brought pursuant to §15 of the Securities Act against defendants

Vigodman, Desheh, Peterburg, and Griffin in connection with the ADS Offering on behalf of

Plaintiffs who purchased or otherwise acquired the ADSs pursuant and/or traceable to the ADS

Offering Materials and were damaged thereby. For purposes of this Count, Plaintiffs assert only

negligence claims and expressly disclaim any allegation of fraud or intentional misconduct, except

that any challenged statements of opinion or belief made in connection with the ADS Offering are

                                               - 311 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 29 of 52



alleged to have been materially misstated statements of opinion or belief when made and at the

time of the ADS Offering.

       848.       During their tenures as officers and/or directors of the Company, Vigodman,

Desheh, Peterburg, and Griffin were controlling persons of Teva, within the meaning of the

Securities Act.

       849.       The defendants named in this Count, by virtue of their positions of control and

authority and their direct participation in and/or awareness of Teva’s operations and finances,

possessed the power to, and did, direct or cause the direction of the management and policies of

Teva and its employees, or cause Teva to issue, offer, and/or sell ADSs pursuant to the defective

ADS Offering Materials.

       850.       The defendants named in this Count had the power to, and did, control the decision-

making of Teva, including the content and issuance of the statements contained (and/or

incorporated by reference) in the ADS Offering Materials. They were provided with or had

unlimited access to copies of the ADS Offering Materials (and/or documents incorporated by

reference) alleged herein to contain actionable statements or omissions prior to and/or shortly after

such statements were issued, and had the power to prevent the issuance of the statements or

omissions or to cause them to be corrected.           These defendants signed the ADS/Preferred

Registration Statement (and/or certain of the Company’s SEC filings incorporated by reference

therein) and were directly involved in or responsible for providing the false or misleading

information contained in the ADS Offering Materials (and/or documents incorporated by reference

therein) and/or certifying and approving that information.

       851.       The defendants named in this Count acted negligently in that none of them

exercised reasonable care to ensure, or had reasonable grounds to believe, that the ADS Offering




                                                - 312 -
        Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 30 of 52



Materials were true and not misleading as to all material facts and did not omit to state any material

fact required to be stated therein or necessary to make to the statements therein not misleading.

       852.    Plaintiffs suffered damages in connection with the purchase or acquisition of the

ADSs in, pursuant to, and/or traceable to the ADS Offering.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray for relief and judgment as follows:

       A.      Declaring and determining that Defendants violated the Exchange Act, Securities

Act, PSA and Israel Securities Law, 1968 by reason of the acts and omissions alleged herein;

       B.      Awarding Plaintiffs compensatory damages against all Defendants, jointly and

severally, in an amount to be proven at trial together with prejudgment interest thereon;

       C.      Awarding Plaintiffs reasonable costs and expenses incurred in this action, including

but not limited to, attorneys’ fees and costs incurred by consulting and testifying expert witnesses;

       D.      Awarding rescission or a rescissory measure of damages; and

       E.      Granting such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

       Plaintiffs hereby demand a trial by jury.

 DATED: August 3, 2018                               SEEGER WEISS LLP
                                                     TERRIANNE BENEDETTO




                                                     TERRIANNE BENEDETTO
                                                     1515 Market Street, Suite 1380
                                                     Philadelphia, PA 19102
                                                     Telephone: 215/564-2300
                                                     215/851-8029 (fax)
                                                     tbenedetto@seegerweiss.com




                                               - 313 -
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 31 of 52




                                   SEEGER WEISS LLP
                                   CHRISTOPHER A. SEEGER
                                   DAVID R. BUCHANAN
                                   77 Water Street, 8th Floor
                                   New York, NY 10005
                                   Telephone: 212/584-0700
                                   212/584-0799 (fax)
                                   cseeger@seegerweiss.com
                                   dbuchanan@seegerweiss.com

                                   ROBBINS GELLER RUDMAN
                                     & DOWD LLP
                                   DARREN J. ROBBINS
                                   LUKE O. BROOKS
                                   RYAN A. LLORENS
                                   ERIC I. NIEHAUS
                                   ANGEL P. LAU
                                   SARA B. POLYCHRON
                                   JEFFREY J. STEIN
                                   655 West Broadway, Suite 1900
                                   San Diego, CA 92101
                                   Telephone: 619/231-1058
                                   619/231-7423 (fax)
                                   darrenr@rgrdlaw.com
                                   lukeb@rgrdlaw.com
                                   ryanl@rgrdlaw.com
                                   eniehaus@rgrdlaw.com
                                   alau@rgrdlaw.com
                                   spolychron@rgrdlaw.com
                                   jstein@rgrdlaw.com

                                   Attorneys for Plaintiffs




                             - 314 -
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 32 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 33 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 34 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 35 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 36 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 37 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 38 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 39 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 40 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 41 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 42 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 43 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 44 of 52
Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 45 of 52
     Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 46 of 52



                                    APPENDIX C
                          Graphs of Collusive Price Increases


a.   Pravastatin Sodium




b.   Enalapril Maleate




                                         A-15
     Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 47 of 52



c.   Cephalexin Oral Suspension




d.   Ketoconazole Tablets and 2% Cream




e.   Baclofen Tablets




                                     A-16
     Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 48 of 52



f.   0.05% Fluocinonide




g.   Carbamazepine Tablets and Chewable Tablets




h.   Estradiol Tablets




                                     A-17
     Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 49 of 52



i.   Clobetasol Propionate Topical Cream




j.   Diclofenac Potassium Tablets




k.   Glyburide Micronized




                                      A-18
     Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 50 of 52



l.   Desonide Topical Lotion and External Cream




m.   Doxycycline Hyclate Capsules




n.   Propranolol Hydrochloride




                                      A-19
     Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 51 of 52



o.   Tretinoin External Cream




p.   Ursodiol Capsules




r.   Nystatin




                                  A-20
     Case 3:19-cv-00449-SRU Document 1-1 Filed 08/03/18 Page 52 of 52



s.   Theophylline ER




t.   Propranolol Tablets
            m




                                  A-21
